                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

RECREATIONAL DATA SERVICE, LLC.,
          Plaintiff,
                                                    Case Number 3:11-cv-00195-TMB
v.

TRIMBLE NAVIGATION LIMITED, et al,
          Defendant.               JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


 XX   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT this matter is hereby REMANDED to the Superior Court
of the State of Alaska, Third Judicial District at Anchorage.


APPROVED:

   s/TIMOTHY M. BURGESS
 TIMOTHY M. BURGESS
 United States District Judge
       MAY 14, 2012
 Date
 NOTE: Award of prejudgment interest,                        MARVEL HANSBRAUGH
 costs and attorney's fees are governed                      Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                             Clerk of Court




[311cv195TMB Judgment remanding matter to State Court.wpd]{JMT2.WPT*Rev.3/03}




     Case 3:11-cv-00195-TMB Document 52 Filed 05/14/12 Page 1 of 1
